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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF RHODE ISLAND

 STATE OF NEW YORK, et al.,

                Plaintiffs,

                v.                                  Civil Action No. 1:25-cv-39 (JJM)

 DONALD TRUMP, IN HIS OFFICIAL
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, et al.,

                Defendants.


  DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF EMERGENCY
     MOTION FOR RECONSIDERATION OR FOR A STAY PENDING
          APPEAL OF ORDER ENFORCING PRELIMINARY
               INJUNCTION AS TO FEMA FUNDING

       As explained in Defendants’ emergency motion for reconsideration or for a stay

 pending appeal, see ECF No. 176, this Court should withdraw its prior Order

 enforcing the preliminary injunction as to funding administered by the Federal

 Emergency Management Agency (FEMA), see ECF No. 175, based on a recent

 Supreme Court decision making clear that this Court lacks jurisdiction to provide

 such relief.    See Department of Education v. California, No. 24A910, 2025 WL

 1008354 (Apr. 4, 2025) (per curiam).         Plaintiffs’ opposition to the motion for

 reconsideration, ECF No. 179, does not change the conclusion that immediate relief

 from the Court’s prior Order is warranted.

       1. Plaintiffs first contend that Defendants’ motion for reconsideration “is in

 fact a collateral attack on the preliminary injunction itself, and it should be denied

 on that basis.” Opp’n at 1. Plaintiffs say, for example, that “Defendants do not argue



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 . . . that the Court erred in concluding that FEMA’s conduct falls within the scope of

 the Court’s injunction, or that Department of Education bears in any way on that

 question.”    Id. at 2.   But that is precisely Defendants’ argument—the Court’s

 preliminary injunction, issued based on claims arising under the Administrative

 Procedure Act (APA), cannot possibly reach individual, grant-specific disputes that

 this Court lacks APA jurisdiction to resolve. Jurisdiction to resolve such grant-

 specific disputes properly lies with the Court of Federal Claims pursuant to the

 Tucker Act.    That is what Defendants argued in their opposition to the FEMA

 enforcement motion, see ECF No. 172 at 3-5, and that is what the Supreme Court’s

 decision in Department of Education now confirms.

       Plaintiffs also contend that “defendants never argued in opposing the motion

 for a preliminary injunction that this case belongs in the Court of Federal Claims.”

 Opp’n at 2. As an initial matter, the present motion for reconsideration is directed at

 the Order enforcing the preliminary injunction as to FEMA funding, and Plaintiffs

 do not (and cannot) dispute that Defendants adequately raised this argument in the

 context of litigating that FEMA enforcement motion.           See ECF No. 172 at 3-5.

 Regardless of whether the underlying preliminary injunction conflicts with the

 Tucker Act’s jurisdictional limitations, certainly the FEMA enforcement Order does.

 That Order requires FEMA to “immediately cease the challenged manual review

 process,” ECF No. 175 at 14 ¶ 1, thereby requiring FEMA to make payments on

 specific grants—relief that Plaintiffs could only be entitled to by virtue of their grant

 agreements. Cf. United States Conf. of Cath. Bishops v. Dep’t of State, No. 25-cv-465,




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 2025 WL 763738, at *8 (D.D.C. Mar. 11, 2025) (even if court has jurisdiction over

 claims in complaint, that does not allow the court to provide expedited relief that

 would transgress jurisdictional limitations in the APA and the Tucker Act). Thus,

 Plaintiffs’ assertion of forfeiture—based on arguments allegedly not being raised

 during earlier briefing on separate motions—is irrelevant given that the Court’s

 FEMA enforcement Order plainly does present Tucker Act jurisdictional issues.

        In any event, Plaintiffs’ forfeiture analysis is incorrect. This jurisdictional

 point cannot be forfeited, even if Defendants failed to raise it earlier. See Gonzalez v.

 Thaler, 565 U.S. 134, 141 (2012) (“Subject-matter jurisdiction can never be waived or

 forfeited.”). Of course, Defendants do not believe they forfeited any arguments.

 Throughout this case—proceeding on expedited timelines, in the face of Plaintiffs’

 shifting pleadings and characterizations of their claims—Defendants have

 consistently maintained that APA review is inappropriate. See, e.g., ECF No. 49 at 2-

 4; ECF No. 113 at 22-31; see also PI Hr’g Tr. at 39 (arguing that Plaintiffs’ claims are

 “fundamentally problematic” because “there’s no way for the Court to enter relief

 against a so-called funding freeze that’s never specifically defined without becoming

 an overseer over the funding decisions of almost two dozen individual federal

 agencies”); id. at 41 (arguing that Plaintiffs’ APA claims “run[] afoul of Article III and

 the APA”). Thus, there is no basis for the Court to decline to consider the argument

 that jurisdiction solely rests with the Court of Federal Claims under a Tucker Act

 claim, which was timely raised in the immediate wake of a Supreme Court decision

 that is directly on point.




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        Finally, Plaintiffs suggest that “defendants cannot attack the preliminary

 injunction at this stage, because they have appealed it, and the Court lacks

 jurisdiction to modify it.”     Opp’n at 2.       This argument makes little sense.     If

 Defendants’ appeal of the preliminary injunction deprived this Court of jurisdiction

 to decide whether it should provide further relief as to FEMA funding, then this Court

 would lack jurisdiction not only over the motion for reconsideration but also Plaintiffs’

 underlying enforcement motion (filed subsequent to the appeal). See ECF No. 162

 (Notice of Appeal); ECF No. 168 (Plaintiffs’ enforcement motion). Plaintiffs cannot

 have it both ways where this Court possesses jurisdiction to grant their enforcement

 motion, but lacks jurisdiction to withdraw that Order. And even if there were some

 theoretical jurisdictional impediment, this Court could simply stay its Order—as it

 has already done, see Text Order of Apr. 7, 2025—and then issue an indicative ruling

 saying the Court would vacate the Order. See Fed. R. Civ. P. 62.1(a)(3). In short,

 Plaintiffs’ procedural objections all fail.

        2. On the merits, Plaintiffs assert that “Plaintiff States’ claims here cannot

 plausibly be characterized as an attempt to enforce contracts between them and the

 federal government[.]” Opp’n at 2-3. But that suggestion cannot be squared with the

 relief sought in their enforcement motion—i.e., an order directing FEMA “to cease

 freezing obligated funds” to the Plaintiff States, ECF No. 168 at 1—which is precisely

 what the Court ordered. See ECF No. 175 at 14, ¶ 2 (directing that FEMA must not

 “pause or otherwise impede the disbursement of appropriated federal funds to the

 States” on various bases). That type of relief is indistinguishable from the order that




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 the Supreme Court stayed in Department of Education, 2025 WL 1008354 at *1

 (“[T]he Government is likely to succeed in showing the District Court lacked

 jurisdiction to order the payment of money under the APA.”).

        Indeed, the district court order at issue in Department of Education used

 language that is materially identical to what this Court has ordered:

        Defendants are temporarily enjoined from implementing, giving effect
        to, maintaining, or reinstating under a different name the termination
        of any previously awarded TQP or SEED grants for recipients in
        Plaintiff States, including but not limited to through the Termination
        Letter, Termination GAN, and any other agency actions implementing
        such terminations, such as suspension or withholding of any funds
        approved and obligated for the grants[.]

 California v. Dep’t of Educ., No. 25-cv-10548, 2025 WL 760825, at *5 (D. Mass. Mar.

 10, 2025). The First Circuit concluded that this relief was permissible under the APA

 on the very basis proffered by Plaintiffs here—i.e., as not “seek[ing] damages owed on

 a contract or compensation for past wrongs” but rather “want[ing] the Department to

 once again make available already-appropriated federal funds for existing grant

 recipients,” California v. Dep’t of Educ., No. 25-1244, 2025 WL 878431, at *2 (1st Cir.

 Mar. 21, 2025). The Supreme Court rejected that characterization, however, and

 concluded that “the APA’s limited waiver of immunity does not extend to orders ‘to

 enforce a contractual obligation to pay money’ along the lines of what the District

 Court ordered here. Instead, the Tucker Act grants the Court of Federal Claims

 jurisdiction over suits based on ‘any express or implied contract with the United

 States.’”   2025 WL 1008354, at *1 (citation omitted).       That conclusion equally

 forecloses such relief in this case.

        Moreover, Plaintiffs’ arguments here are indeed bound up with “what [the


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 relevant grant] agreements say or provide[.]” Opp’n at 4. A central issue in Plaintiffs’

 enforcement motion is whether FEMA’s manual review process is rooted in “the

 Executive’s actual authority in the applicable statutory, regulatory, or grant terms,”

 ECF No. 161 at 43, because if so then FEMA’s review process would undisputedly fall

 outside the scope of the Court’s preliminary injunction. That is why Plaintiffs have

 argued that FEMA’s manual review process is not justified by the relevant grant

 regulations and terms, see ECF No. 168 at 8-9; Defendants have explained that

 FEMA’s review process is indeed justified under the relevant authorities, see ECF

 No. 172 at 10-12; and this Court’s prior Order necessarily addressed that very

 question, see ECF No. 175 at 9-10. These are precisely the type of grant-specific

 disputes, inextricably bound up with whether payment under the relevant grant

 agreements must continue, that the Supreme Court has now confirmed are not

 subject to resolution through an APA suit.

       Finally, Plaintiffs focus on the fact that Department of Education involved

 grant terminations, whereas this case involves only pauses on payments under grants

 that still exist. Opp’n at 3, 5. But at least when it comes to their motion to enforce,

 that is a distinction without a difference. In both contexts, the fundamental question

 is whether federal agencies are required to continue making payments under the

 specific terms of the relevant grant agreements, and Plaintiffs are claiming that

 withholding those payments is unlawful. “[T]he APA’s limited waiver of immunity

 does not extend to orders ‘to enforce a contractual obligation to pay money,’”

 Department of Education, 2025 WL 1008354 at *1, regardless of whether that order




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 was entered in a case involving a grant termination or a withholding of payment—

 the type of relief provided is the same, and equally precluded in both. Any such

 contractual challenge rests with the Court of Federal Claims under the Tucker Act.

 Id.

       Accordingly, Plaintiffs cannot escape the effect of the Supreme Court’s decision

 in Department of Education. That decision rejects the type of relief that this Court

 provided in its Order enforcing the preliminary injunction as to certain FEMA

 funding, see ECF No. 175, and therefore that Order should be withdrawn.

       3. At a minimum, to the extent the Court is unwilling to fully withdraw the

 prior enforcement Order, the Court should stay that Order pending appeal. That is

 amply justified by not only the arguments made in Defendants’ original opposition to

 the enforcement motion, see ECF No. 172, but also now the Supreme Court’s decision

 in Department of Education. Plaintiffs again suggest that “the Court’s April 4 order

 enforcing its prior preliminary injunction is not appealable.” Opp’n at 6. But that

 Order plainly imposed additional terms on Defendants, see ECF No. 175 at 14-15,

 rendering it appealable under 28 U.S.C. § 1292(a)(1) (allowing interlocutory appeals

 for orders “granting, continuing, modifying, refusing or dissolving injunctions”). And

 even if Plaintiffs were theoretically correct that the April 4 enforcement Order was

 not independently appealable, there is obviously still an appeal pending from the

 underlying preliminary injunction, and the enforcement Order should at least be

 stayed pending resolution of that appeal.

       For the foregoing reasons, Defendants respectfully request that the Court




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 withdraw its prior enforcement Order entered at ECF No. 175. In the alternative,

 the Court should continue to stay that Order pending resolution of all appeals.



  Dated: April 7, 2025                  Respectfully Submitted,

                                        YAAKOV M. ROTH
                                        Acting Assistant Attorney General

                                        ALEXANDER K. HAAS
                                        Director

                                        /s/ Daniel Schwei
                                        DANIEL SCHWEI
                                        Special Counsel
                                        ANDREW F. FREIDAH
                                        EITAN R. SIRKOVICH
                                        Trial Attorneys
                                        United States Department of Justice
                                        Civil Division, Federal Programs Branch
                                        1100 L Street NW
                                        Washington, DC 20530
                                        Tel.: (202) 305-8693
                                        Fax: (202) 616-8460
                                        Email: daniel.s.schwei@usdoj.gov

                                        Counsel for Defendants




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                         CERTIFICATION OF SERVICE

        I hereby certify that on April 7, 2025, I electronically filed the within
 Certification with the Clerk of the United States District Court for the District of
 Rhode Island using the CM/ECF System, thereby serving it on all registered users in
 accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.

                                        /s/ Daniel Schwei
                                        DANIEL SCHWEI




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